                       Case 1:21-cr-00110-ABJ Document 1 Filed 11/12/20 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )
                     ADAM HAGEMAN                                 )
                                                                  )
                                                                  )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 1, 2020 – November 12, 2020 in the county of                                             in the
                       District of           Columbia         , the defendant(s) violated:

            Code Section                                                   Offense Description
                                 Knowingly received Child Pornography
18 USC § 2252A(a)(2)


18 USC § 2252A(a)(5)             Knowingly possessed with intent to view, any book, magazine, periodical, film, videotape, computer
(B)                              disk, or any other material that contains an image of child pornography




         This criminal complaint is based on these facts:

                              SEE ATTACHED STATEMENT OF OFFENSE




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                Raymond Abruzzese, Special Agent, HSI
                                                                                              Printed name and title

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1RYHPEHU                                                                                2020.11.12 14:45:40
Date:             11/12/2020                                                                              -05'00'
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                         Zia M. Faruqui, U.S. Magistrate Judge
                                                                                              Printed name and title
